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             EXHIBIT 1
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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION

 GOOGLE LLC,                                    §
          Plaintiff,                            §
                                                §
        v.                                      §     CIVIL ACTION 3:20-cv-06754-WHA
                                                §
 SONOS, INC.,                                   §
            Defendant.                          §
                                                §
                                                §


            SONOS, INC.’S OBJECTIONS AND RESPONSES TO
  GOOGLE LLC’S SECOND SET OF REQUESTS FOR PRODUCTION (NOS. 43-89)

       Sonos, Inc. (“Sonos”) responds to Google LLC’s (“Google”) second set of requests for

production (Nos. 43-89) as follows.

                                  GENERAL OBJECTIONS

       Sonos asserts each of the following General Objections to each of Google’s requests for

production. In addition to these General Objections, Sonos may also state Specific Objections to

specific requests for production where appropriate. By setting forth such additional Specific

Objections, Sonos does not in any way intend to limit or restrict its General Objections.

Moreover, to the extent Sonos provides a response to any of Google’s requests for production to

which Sonos objects, such response shall not constitute a waiver of any General or Specific

Objection.

               1.     Sonos’s responses to Google’s Second Set of Requests for Production (Nos.

       43-89) are made to the best of Sonos’s present knowledge, and Sonos reserves the right, at

       any time, to revise, correct, supplement, modify, or clarify the specific responses set forth

       below or the information disclosed therein. Discovery is in the early stages, and Sonos



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       Sonos objects to the Request to the extent that it calls for material protected from

discovery by attorney-client privilege, the work product doctrine, or any other applicable

privilege.

       Sonos objects to the Request to the extent that it calls for material that is publicly

available or otherwise equally available to Google.

       Sonos objects to the extent the Request purports to call for documents outside Sonos’s

possession, custody, or control, such as Sonos’s law firms’ document retention policies.

       Subject to these Specific Objections and the foregoing General Objections, and insofar as

this request is understood, Sonos is not aware of any working examples of Sonos products or

Sonos prototypes that practice the subject matter claimed in the ‘033 patent.

       Sonos reserves the right to revise, correct, add to, supplement, or clarify its response to

this Request for Production as additional information is discovered and/or becomes available.



REQUEST FOR PRODUCTION NO. 58

Document relating to conception, design, development, and implementation of the Cloud Queue
API mentioned on your website at https://developer.sonos.com/reference/cloud-queue-api/.

RESPONSE

       Sonos objects that the Request is overbroad, unduly burdensome, and not calculated to

lead to the discovery of relevant documents, particularly to the extent that the Request requests

documents regardless of time or whether they relate to any issue in this case.

       Sonos objects to the Request to the extent that it calls for material protected from

discovery by attorney-client privilege, the work product doctrine, or any other applicable

privilege.




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        Sonos objects to the Request to the extent that it calls for material that is publicly

available or otherwise equally available to Google.

        Sonos objects to the extent the Request purports to call for documents outside Sonos’s

possession, custody, or control, such as Sonos’s law firms’ document retention policies.

        Subject to these Specific Objections and the foregoing General Objections, and insofar as

this request is understood, Sonos responds that it is willing to meet and confer with Google to

understand what is sought by this request and how it is relevant to any issues in this case.

        Sonos reserves the right to revise, correct, add to, supplement, or clarify its response to

this Request for Production as additional information is discovered and/or becomes available.



REQUEST FOR PRODUCTION NO. 59

Source code for the Cloud Queue API mentioned on your website at
https://developer.sonos.com/reference/cloud-queue-api/, including the first version of the code.

RESPONSE

        Sonos objects that the Request is overbroad, unduly burdensome, and not calculated to

lead to the discovery of relevant documents, particularly to the extent that the Request purports

to require the production of versions of source code that are not purportedly relevant to any issue

in this case.

        Sonos objects to this request to the extent it seeks documents that involve third-party

confidentiality interests and potential obligations of Sonos related to such third-party

confidentiality interests.

        Subject to these Specific Objections and the foregoing General Objections, and insofar as

this request is understood, Sonos responds that it is willing to meet and confer with Google to

understand what is sought by this request and how it is relevant to any issues in this case.



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Sonos reserves the right to revise, correct, add to, supplement, or clarify its response to this

Request for Production as additional information is discovered and/or becomes available.



Dated: December 27, 2021                       Respectfully submitted,

                                               By: /s/ Cole B. Richter

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